                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

 UNITED STATES OF AMERICA,                       No.

                      Plaintiff,                 COUNTS ONE through TWELVE:
                                                 18 U.S.C. § 2314
       v.                                        (Interstate Transportation of Stolen Money)
                                                 NMT 10 Years Imprisonment
 JOEL JEROME TUCKER,                             NMT $250,000 Fine
 [DOB: 12/02/1968]                               NMT 3 Years Supervised Release
                                                 Class C Felony
                      Defendant.
                                                 COUNTS THIRTEEN and FOURTEEN:
                                                 18 U.S.C. § 157
                                                 (Bankruptcy Fraud)
                                                 NMT 5 Years;
                                                 NMT $250,000 Fine
                                                 NMT 3 Years Supervised Release
                                                 Class C Felony

                                                 COUNT FIFTEEN:
                                                 18 U.S.C. §§ 1519 and 2
                                                 (Falsification of Record in Bankruptcy)
                                                 NMT 20 Years Imprisonment
                                                 NMT $250,000 Fine
                                                 NMT 3 Years Supervised Release
                                                 Class C Felony

                                                 FORFEITURE ALLEGATION:
                                                 18 U.S.C. §§ 982(a)(1) and (a)(2)(A)

                                                 $100 Mandatory Special Assessment Each Count

                                                 Order of Restitution

                                       INDICTMENT

      THE GRAND JURY CHARGES THAT:

      At all times material and relevant to this Indictment:

                                   Introduction and Background

      1.       Defendant Joel Jerome Tucker was a resident of Johnson County, Kansas, and

owned businesses in Missouri, Kansas, Colorado, and Wyoming.



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       2.      Beginning in at least 2002 and continuing through 2012, Joel Tucker, working

through various companies, serviced payday loan businesses. Tucker’s company names changed

over the years; the primary company would become eData Solutions, LLC (eData). eData,

formally registered on July 29, 2009, did not make loans directly to borrowers; it collected loan

application information, referred to as leads, and sold those leads to its approximately 70 payday

lender clients. As a loan servicer, eData also provided software for payday lenders.

       3.      From 2014 to 2016, Joel Tucker, operating under multiple businesses and business

bank accounts, engaged in two related schemes to defraud: a sale of fake debt scheme and a

bankruptcy fraud scheme. In the sale of fake debt scheme, Tucker defrauded third party debt

collectors and millions of individuals listed as debtors through the sale of falsified debt portfolios.

These portfolios were false in that Tucker did not have chain of title to the debt, the loans were not

necessarily true debts, and the dates, amounts, and lenders were inaccurate and in some cases

fictional. In his bankruptcy fraud scheme, Tucker also sold fake debt, which entered the United

States Bankruptcy Courts nationwide, and then made false statements and presented false

information to the Bankruptcy Court and violated court orders to conceal his sales of fake debt.

       4.      Tucker used the companies Alloy Data Systems, Graywave Capital Management

LLC (Graywave), HPD LLC, JT Holdings Inc., KSQ Management LLC (KSQ), and SQ Capital

LLC to sell the debt. Tucker sometimes sold the debt through debt brokers or other intermediaries.

       5.      On May 7, 2010, SQ Capital, LLC was organized as a Missouri company. On

November 17, 2011, Tucker opened a business bank account in the name SQ Capital LLC at

Bank of the West, account number ending 7505. Tucker was the sole authorized signer on the

account and listed himself as the president of SQ Capital LLC.




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       6.       On November 17, 2011, Tucker opened a business bank account in the name

KSQ Management, LLC at Bank of the West, account number ending 2331. Tucker was identified

as the president and was the sole authorized signer on the account.

       7.       On September 6, 2012, Tucker opened a business bank account in the name

Graywave Capital, at Bank of the West, account number ending 7027. Tucker identified himself

as the president, sole owner, and principal manager of Graywave Capital, and was one of two

authorized signatures on the account. On December 16, 2014, Tucker opened a business bank

account in the name Graywave Capital Management LLC at Centennial Bank, account number

ending 8349. Tucker was one of two authorized signatures on the account.

       8.       On January 30, 2014, one of Tucker’s colleagues opened a business bank account

in the name Alloy Data Systems LLC at Bank of the West, account number ending 1738.

       9.       On February 5, 2016, SafeLock PC LLC, a company formed under Wyoming laws,

was registered to do business in Missouri. Tucker identified himself as CEO of SafeLock, solicited

investments on behalf of SafeLock, and signed a commercial lease for office space in Kansas City,

Missouri, on behalf of SafeLock as a partner.

       10.      For tax years 2014 - 2016, neither Tucker personally nor any of his companies filed

federal tax returns with the Internal Revenue Service, including:

                a.     Graywave Capital Management
                b.     HPD LLC
                c.     JT Holdings Inc.
                d.     KSQ Management LLC
                e.     SQ Capital LLC




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                       PURPOSE OF THE SCHEMES TO DEFRAUD

       11.      Between 2014 and continuing into 2016, Tucker executed a fake debt scheme by

marketing, distributing, and selling fake debt portfolios that purported to represent valid due and

owing payday loans made by a variety of purported lenders, including “500FastCash” and “Castle

Peak.” Tucker sold supposed debts which: 1) he didn’t own; 2) were not true debts; 3) had already

been sold to other buyers; and 4) contained false lenders, false loan dates, false loan amounts, and

false payment status. Tucker received approximately $7.3 million from the sale of fake debt. The

purpose of Tucker’s scheme was to fraudulently obtain money for his own use and gain. As part

of his fraud scheme, Tucker transferred the proceeds of the fraud scheme across state lines, as

delineated below in Counts One – Twelve.

       12.      In 2015, Tucker executed a related bankruptcy fraud scheme in which he marketed,

distributed, and sold fake debt portfolios though a debt broker to bankruptcy debt collectors.

Tucker sold supposed debts which: 1) he didn’t own; 2) were not true debts; 3) had already been

sold to other buyers; and 4) contained a false lender name, false loan dates, false loan amounts,

and false payment status, for his financial use and gain. When the United States Bankruptcy Court

investigated these fake debts which were presented as claims in bankruptcy cases, Tucker provided

false information and testimony to the Bankruptcy Court in order to conceal his scheme.

                              SALE OF FAKE DEBT SCHEME

       13.      On August 1, 2012, President Obama signed a law referred to as Operation

Chokepoint, which resulted in banks refusing to make Automated Clearinghouse withdrawals

from their customers’ bank accounts associated with payday lenders, which greatly reduced the

profitability of payday loans.    Many payday lenders went out of business after Operation

Chokepoint.


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       14.      On June 20, 2012, Tucker and the other owners of eData sold the company to the

Wyandotte Indian tribe. By the terms of the sale agreement, Tucker did not retain ownership or

chain of title to any payday loans made by eData’s clients.

       15.      However, despite selling his interest in eData, Tucker maintained a file of

7.8 million leads (‘7.8 file’) he had acquired through eData, containing detailed customer

information including names, addresses, bank accounts, social security numbers, dates of birth,

etc. Tucker’s company eData sold the detailed customer information from online payday loan

applications or inquiries to its payday lender clients. The 7.8 file did not represent loans, as loans

would have been made by the various payday lenders. The 7.8 file contained listed customers,

some of whom withdrew their requests for loans, some of whom were denied loans, some of whom

obtained loans and repaid them, and some of whom obtained loans and defaulted in the payments.

       16.      Notwithstanding that the 7.8 file did not represent loans, much less defaulted loans,

and notwithstanding that Tucker did not own the loans, he proceeded to package, market, and sell

this information as collectible debt to multiple debt buyers through 2014 and 2015. Tucker had

the 7.8 file broken into subparts to package, market, and sell.

       17.      Tucker, for the purpose of executing the scheme to defraud, often used

intermediaries and debt brokers to recruit debt buyers by presenting to potential buyers that he

owned the debt he was marketing, that it was legitimate debt and/or that it had not been sold to

other debt buyers. Tucker well knew that the representations to be made by the debt brokers and

intermediaries were false at the time they were made. Tucker used intermediaries in part to

distance himself from and conceal his role in the scheme to defraud.

       18.      On or about July 22, 2014, Tucker created a fake contract between seller Black

Creek LLC, supposedly representing 500FastCash, and buyer SQ Capital LLC, Tucker’s


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company. The contract purported to sell charged-off payday loan accounts from Black Creek LLC

to SQ Capital LLC, with an unpaid balance due of $94,999,140, for $1,274,984.18. Black Creek

LLC did not own 500FastCash loans. 500FastCash and related payday lenders such as Ameriloan,

AdvantageCashServices, AceCashServices, etc., were associated with Tucker’s brother Scott

Tucker and serviced by AMG Services, Inc. Tucker created and used this fake Black Creek LLC

contract to make it appear as though he owned the payday loan debt.

       19.      Through SQ Capital and other companies, Tucker sold payday loan debt he did not

own to multiple entities, including: debt broker United Debt Holdings; STP Management Group;

Delray Capital, LLC; Bayview Solutions, LLC; Solutions Software, CHM Capital Group LLC;

Aura Development, Inc.; Ashton Asset Management; and others.

       20.      Tucker, either directly or through a debt broker, represented that he owned the debt.

Tucker sold the debt in the form of spreadsheets created from his 7.8 file. The spreadsheets, also

called debt portfolios, contained customer names, dates of birth, addresses, phone numbers, bank

accounts, email addresses, employers, and references. Most of this information was accurate and

allowed the debt purchasers to contact the customers and attempt to collect the debt. Thus, Tucker

placed in the hands of debt collectors the means through which they could mislead customers

regarding their debt obligations. Some customers actually paid the debt collectors out of fear or

confusion about what they owed.

       21.      The spreadsheets Tucker sold to debt purchasers also contained loan information.

The loan information was often false, listing false lenders, false loan amounts, false past due

amounts, and false loan dates.

       22.      Tucker sold the same sets of debts to multiple purchasers, materially failing to

disclose to purchasers that he had previously sold the same debt.


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       23.      Beginning in September 2014, AMG sent cease and desist letters to debt buyers

such as Delaware Solutions and Clear Credit Solutions, who had bought fake debt from Tucker or

his intermediaries, and then attempted to collect from customers and non-customers alike, for

purported payday loan debt serviced by AMG. Notwithstanding the cease and desist letters,

Tucker continued to sell payday loan debt he did not own through late 2014 and all of 2015.

       24.      On December 16, 2016, the Federal Trade Commission (FTC) filed a civil suit

against Tucker and three of his companies, SQ Capital, LLC, JT Holdings, Inc., and HPD LLC, in

the District of Kansas, case number 16-CV-02816, for misleading consumers through his sale of

fake debt. Tucker represented himself in this lawsuit, and on or about March 15, 2017, he emailed

the FTC an accounting of his ownership of the payday loan debt, stating, “I do not have the chain

of title in my possession. The Wyandotte Indian Tribe has it held their records. I do not have any

rights to the chain of title for any transactions with SQ Capital, JT Holdings, or HPD.”

                              BANKRUPTCY FRAUD SCHEME

       25.      In 2015, Tucker sold fake debt portfolios to First Source Data (FSD), owned by

Jeffrey Brooks, a debt broker. FSD brokered the debt to Porania LLC, a bankruptcy debt

purchaser. A bankruptcy debt purchaser specializes in buying debt in which the debtors have

filed for bankruptcy. The debt purchaser then files claims in Bankruptcy Chapter 7 and Chapter 13

cases throughout the country. Through this business model, bankruptcy debt purchasers collect a

portion of the debts when the bankruptcy trustees sell assets or collect payments from debtors.

       26.      Tucker caused to be created the debt portfolios he sold using his 7.8 file of payday

loan leads. He did not have title to the debt he sold to FSD. He provided two debt portfolios

(spreadsheets), the first named “JB 11-18-2015_Revised1.xlsx” that listed 8,775 debtors who had

filed for bankruptcy, including the district of their bankruptcy and the name of the bankruptcy


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trustee. The second spreadsheet, named “FSD 12-10-2015.xls,” listed 5,628 debtors who had filed

for bankruptcy. Approximately seventy of the listed debtors in the two spreadsheets were in

bankruptcy in the Western District of Missouri. The spreadsheets contained false information,

including that the listed consumer had received a loan, was in default on the loan, and the dates of

the loans. Tucker caused to be listed the lender of all the debt he sold to FSD as “Castle Peak.”

This was fictional; Castle Peak was not a payday lender or servicer. Tucker caused to be listed the

loan amount for each debtor as $300, and the financing charge as $90; he thus represented each

debtor owed $390. These amounts were also fictional.

       27.      Tucker sold the above-mentioned spreadsheets to FSD in two installments, the first

for $30,000 on November 27, 2015, the second for $12,500 on December 16, 2015. In connection

with the debt sale, on December 11, 2015, Tucker provided “sample media” to FSD, which FSD

in turn provided to Porania. The sample media, approximately ten loan origination notes, like the

debt, was fictional. On all notes, the lender was represented to be Castle Peak, the loan amount

was $300, the financing charge was $90, and the customer signatures were forged.

       28.      Through FSD, Porania bought Tucker’s fake debt, and sold some to Atlas

Acquisitions LLC, another bankruptcy purchaser, in December 2015. When Porania and Atlas

bought the debt, they filed claims in over a thousand pending bankruptcy cases throughout the

country, including in the Western District of Missouri.

       29.      In early 2016, bankruptcy trustees throughout the country disputed filed claims on

the “Castle Peak” payday loans in the amount owing of $390. On January 11, 2016, Brooks,

as FSD, forwarded an email he had received to Tucker which stated, “Jeff – can you please mark

this as “urgent”. We have several Trustees inquiring about these accounts.” Brooks added to the




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forwarded email, addressing Tucker, “You have the other media requests as well correct?” Also

on January 11, 2016, Tucker responded to Brooks, “I am trying my best to get them.”

       30.      On February 5, 2016, the Honorable Marvin Isgur, a United States Bankruptcy

Judge in Houston, Texas, the Southern District of Texas, opened a Miscellaneous Case, No. 16-

302, to investigate the source of over a thousand proofs of $390 “Castle Peak” claims filed in

bankruptcy courts across the United States, specifically referencing 26 claims pending in the

Southern District of Texas.

       31.      Judge Isgur found that Tucker or an entity controlled by him transferred the $390

claims to debt collectors. On March 3, 2016, Judge Isgur ordered Tucker to appear as a witness in

the bankruptcy court on March 21, 2016, and to produce documents regarding the filing of proofs

of claim.

       32.      On March 19, 2016, Tucker received an email from a colleague referring to the

26 claims in Judge Isgur’s order, which stated, “Attached is the new spreadsheet of the 18 SSN’s

and the information found in the eData tables. If they were found in the iCollect table, that

information is also exported. You will see duplicate customers but in different funding companies.

Many were not funded and were either withdrawn or denied but I pulled all the app data for them.”

       33.      Tucker appeared before Judge Isgur in Houston on April 4, 2016, but produced no

documents. Tucker testified, “it’s taking me more time to go back and go through all those pieces

of documentation and also find the media attached with those files.” Judge Isgur ordered Tucker

taken into custody, but Tucker claimed he could only produce the documents by travelling to

Kansas City and Colorado. Judge Isgur released Tucker on the condition he produce the ordered

documents and that Tucker notify the trustee and parties before accessing any documents in Kansas

City or Colorado.


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       34.     Tucker violated Judge Isgur’s order in that he accessed and caused to be accessed,

documents in Kansas City, Missouri, without giving notice to the trustee or parties. Specifically,

on April 9, 2016, Tucker caused another person to access a spreadsheet called

“icollectmasterfull.xlsx” which was then downloaded to Tucker’s virtual server. Further, on

April 11, 2016, Tucker caused another person to access spreadsheets “File1_JT.xlsx,”

“File2_JT.xlsx,” “File3_JT.xlsx,” “File4_JT.xlsx.”        These spreadsheets all related to the

bankruptcy debt Tucker sold to FSD.

       35.     On April 14, 2016, a paralegal for the bankruptcy trustee accompanied Tucker to

the office at SafeLock in Kansas City, Missouri, and videotaped Tucker accessing spreadsheets on

a virtual server. Tucker stated in the video, “All right, that’s it, this is the biggest one,” after

accessing a spreadsheet.     This statement was false, as Tucker could have accessed more

documents, including the 7.8 file, but chose to exclude the 7.8 file from his virtual server. Tucker’s

data was on a virtual server, which he could have retrieved from anywhere, including Houston.

       36.     In Kansas City, Missouri, Tucker caused to be created a spreadsheet responsive to

Judge Isgur’s order that he provide loan documentation for 26 debtors in the Southern District of

Texas. On April 28, 2016, Tucker presented to the court a spreadsheet labeled “Tucker027983”

which contained false information, including a loan amount of $300 for all debtors, a total balance

due of $390 for all debtors, and the lender, which he listed as “Castle Peak” for two debtors. On

March 24, 2016, Tucker had received an email from a colleague informing him that at least 8 of

the 26 debtors had no loan information.         Tucker nevertheless presented to the court loan

information on the spreadsheet as though all 26 debtors had received loans and defaulted.

       37.     At the hearing on April 28, 2016, Tucker testified before Judge Isgur. Some of his

false statements, identified by transcript page number, include:


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       a.      Q: “during your review of the electronic data in Kansas City, did you find any

additional information relating to the 24 claims between - - that Mr. Brooks and First Source sold

to Porania?” Tucker: “No.” Page 45.

       b.      Q: “Where did these (sample loan documents) come from?” Tucker: “These are

generated through the loan management software system Judge.” Q: “That who owns?” Tucker:

“That I do.” Page 80.

       c.      Tucker: “Castle Peak was a client of ours and we knew that that loan note was the

one they used, yeah.” Page 81.

       d.      Q: “So you thought all of these people had borrowed $300 from Castle Peak?”

Tucker: “Right.” Page 83.

       e.      Q: “So, Mr. Tucker, when did you reclaim ownership of the 2,000,000 debt files

or claims?” Tucker: “April of - - April 5th of 2014.” Page 109.

       f.      Tucker: “I mean I believe Castle Peak was one of the issuers.” Pages 116-17.

       g.      Tucker: “Yeah, Castle Peak was one - - the issuer. Yes, one of the issuers, yes.”

Page 140.

       h.      Q: “At the time that First Source sold the claims that you transferred to First Source

to Porania, you thought that Castle Peak was the sole issuer of those claims; is that correct?”

Tucker: “One of the issuers, yes. The sole issuer, yes.” Page 142.

       i.       Q:   “why did you email Mr. Brooks with the Castle Peak information?”

Tucker: “Well, that was one of the lenders. That’s a lender.” Page 166.

       j.      Q: “But in this email on January 11th you’re telling him you’re “trying my best to

get them.” ” (loan origination documents) Tucker: “Because he kept - - he kept saying, hey, what




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about this, what about this, can we get this, can we get this. It was like, I’m trying my best, man;

I told you there’s no underlying data, there’s no underlying media.” Page 172.

       38.     After the April 28 hearing, Judge Isgur found that Tucker gave “incredible

testimony” and ordered that a forensic computer examiner be appointed to obtain computers and

files showing the originating lenders of the $390 claims, and to obtain Tucker’s communications,

in addition to completing other tasks.

       39.     On June 29, 2016, Judge Isgur ordered Tucker to file with the court a declaration

as to how he prepared the document “Tucker027983”. On July 8, 2016, Tucker filed a sworn

declaration with the Bankruptcy Court listing the steps he took to personally prepare the

spreadsheet in Kansas City, Missouri. The declaration was false, in that Tucker had another person

prepare the spreadsheet and some of the information on the spreadsheet was not obtained from

data in his files or electronic documents as he stated in the declaration, but was fictional.

       40.     Between April 4, 2016, and July 11, 2016, Tucker caused or allowed his

computer(s) at SafeLock PC to be destroyed in contravention of Judge Isgur’s order that he

produce all communications and documentation regarding his acquisition and transfer of the

bankruptcy debt. In an attempt to distance himself from the destruction of his computers which

he used to access and/or create documents for sale and for court, Tucker falsely portrayed himself

to Judge Isgur as a consultant for SafeLock when in fact, he was a principal of SafeLock.

       41.     Tucker testified before Judge Isgur again at a hearing October 11, 2016. Some of

his false statements, identified by transcript page number, include:

       a.      Q: “And are you an owner in SafeLock PC?” Tucker: “No.” Q: “Have you ever

had any ownership interests in SafeLock PC?” Tucker: “No.” Page 16. Q: “What is your role

in the company?’ Tucker: “I was a consultant to the company.” Page 163.


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       b.      Q: “were those loans ever put into any kind of master file or any master spreadsheet

for somebody to be able to identify what all of those - - who those customers were that had

defaulted on loans?” Tucker: “Yes.” Q: “And what is that master sheet?” Tucker: “The

7.8 million file.” Pages 36-37.

       c.      Q: “Do you have an understanding of why Castle Peak is identified as the issuer

of those loans?” Tucker: “Yeah, that was the mask - - the masked name for the file that was sent

over.” Q: “What did Castle Peak do?” Tucker: “Castle Peak was a - - was a processing - - part

of our processing - - I mean, more of the call center management business.” Page 101.

       d.      Q: “Did you actually use real data, or did you use your guess as to the data on - -

as an average?” Tucker: “No, we were using real data contained in there.” Page 285.

       e.      Tucker: “The 7.8 million, no. We weren’t - - we - - that was not being out

marketing and sold for debt.” Page 290.

       f.      Q: “Did you sell it off of that information that you had gotten from E-Data?”

Tucker: “There - - there may have been crossover information of consumers that had multiple

loans off of the data, but it wasn’t going off of that data, in particularly.” Pages 291-92.

       42.     Tucker also testified at the October 11, 2016, hearing that: no documents or

authority provided him with ownership of the payday loans he sold; the $390 loan amounts were

not based on facts; and he had no method of determining whether he sold loans multiple times.

                                    COUNTS ONE - TWELVE

       43.     The allegations in paragraphs One through Twenty-Four are realleged and

incorporated herein by reference.

       44.     On or about the dates listed below, at Kansas City, in the Western District of

Missouri, and elsewhere, as a result of the scheme to sell fake debt, defendant Joel Jerome Tucker


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caused to be transferred in interstate commerce between the banks listed below and Commerce

Bank in Kansas City, Missouri, and elsewhere, money of a value of $5,000 or more, knowing at

the time that the same had been obtained and taken by fraud, that is, money paid to purchase

falsified debt portfolios which Tucker did not own, which purchases were made in reliance on the

false and fraudulent material representations and omissions by defendant as set forth in paragraphs

One through Twenty-Four above, the factual allegations of which are incorporated by reference as

if fully set forth herein, and from which proceeds funds were disbursed, as listed below:

                                      Wire Transmissions and Interstate Transportation of
 Count        Dates       Amount
                                      Stolen Property
                                      Wire transfer from CHM Capital Group LLC, Bank of
Wire in     09/16/2014    $150,000    America acct. no. 3796, to KSQ Management LLC, Bank
                                      of the West acct. no. 2331, for “316M partial buy”
                                      Wire transfer from KSQ Bank of the West acct. no. 2331
    1       09/19/2014     $5,000
                                      to Tri-Comm, Commerce Bank acct. no. 7464
                                      Wire transfer from CHM Capital Group LLC, Bank of
                                      America acct. no. 3796, to KSQ Management LLC, Bank
Wire in     10/10/2014    $180,000
                                      of the West acct. no. 2331, for “final payment Riverside
                                      Peak 3 file”
                                      Wire transfer from KSQ, Bank of the West acct. no. 2331
            10/14/2014    $175,000
                                      to Graywave, Bank of the West acct. no. 7027

                                      Wire transfer from Graywave, Bank of the West acct. no.
    2       10/14/2014     $16,600
                                      7027 to E.G., Commerce Bank acct. no. 9265

                                      Wire transfer from Graywave, Bank of the West acct. no.
    3       10/14/2014     $12,800
                                      7027 to JSRE, Commerce Bank acct. no. 5937

                                      Wire transfer from Graywave, Bank of the West acct. no.
    4       10/14/2014     $10,600
                                      7027 to E.G., Commerce Bank acct. no. 9265
                                      Wire transfer from Aura Development Inc., JPMorgan
 Wire in    12/01/2014    $100,000    Chase Bank, acct. no. 0226 to Graywave, Bank of the West,
                                      acct. no. 7027




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                                       Wire transfer from Graywave, Bank of the West acct. no.
    5         12/01/2014    $5,000
                                       7027 to Tri-Comm, Commerce Bank acct. no. 7464

                                       Wire transfer from Graywave, Bank of the West acct. no.
    6         12/01/2014    $5,000
                                       7027 to E.G., Commerce Bank acct. no. 9265

                                       Wire transfer from Graywave, Bank of the West acct. no.
    7         12/05/2014   $10,000
                                       7027 to E.G., Commerce Bank acct. no. 9265

                                       Wire transfer from Graywave, Bank of the West acct. no.
    8         12/05/2014    $7,000
                                       7027 to Tri-Comm, Commerce Bank acct. no. 7464
                                       Wire transfer from CHM Capital Group LLC, Bank of
 Wire in      12/22/2014   $200,000    America acct. no. 3796, to Alloy Data Systems LLC, Bank
                                       of the West acct. no. 1738
                                       Wire transfer from Alloy Data Systems LLC, Bank of the
    9         12/22/2014   $26,000
                                       West acct. no. 1738 to E.G., Commerce Bank acct. no. 9265
                                       Wire transfer from Alloy Data Systems LLC, Bank of the
   10         12/22/2014   $12,000     West acct. no. 1738 to JSRE LLC, Commerce Bank acct.
                                       no. 5937
                                       Wire transfer from CHM Capital Group LLC, Bank of
 Wire in      1/20/2015    $100,000    America acct. no. 3796, to Graywave Capital Management,
                                       LLC, Centennial Bank acct. no. 8349
                                       Wire transfer from Graywave Capital Management, LLC,
   11         1/20/2015    $13,000     Centennial Bank acct. no. 8349 to E.G., Commerce Bank
                                       acct. no. 9265
                                       Wire transfer from CHM Capital Group LLC, Bank of
 Wire in      1/23/2015    $50,000     America acct. no. 3796, to Graywave Capital Management,
                                       LLC, Centennial Bank acct. no. 8349
                                       Wire transfer from Graywave Capital Management, LLC,
   12         1/28/2015     $7,000     Centennial Bank acct. no. 8349 to JSRE LLC, Commerce
                                       Bank acct. no. 5937

        All in violation of Title 18, United States Code, Section 2314.

                                      COUNT THIRTEEN

        44.     The allegations in paragraphs One through Forty-Two are realleged and

incorporated herein by reference.

        45.     Between on or about June 1, 2015, through on or about February 1, 2016, in the

Western District of Missouri and elsewhere, Joel Jerome Tucker, with the intent to defraud and


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having devised or intending to devise a scheme or artifice to defraud the United States Bankruptcy

system and for the purpose of executing such scheme or artifice, sold bankruptcy debt containing

false representations either expressly or by implication, including: the identity of the lender or

issuer; the amount of the loan; the amount of the finance charge; that the loan had been made; that

the debtor was in default; and that Tucker had ownership of the debt. Through such actions, Tucker

introduced fake debt into the United States Bankruptcy Courts for his own financial gain.

       All in violation of Title 18, United States Code, Section 157.

                                     COUNT FOURTEEN

       46.     The allegations in paragraphs One through Thirty-Five and Thirty-Seven through

Forty-Two are realleged and incorporated herein by reference.

       47.     Between on or about February 5, 2016, through on or about October 11, 2016, in

the Western District of Missouri and elsewhere, Joel Jerome Tucker, with the intent to defraud and

having devised or intending to devise a scheme or artifice to defraud and for the purpose of

executing or concealing such scheme or artifice, made material false statements to, and violated

court orders of, the United States Bankruptcy Court in the Southern District of Texas in

miscellaneous case number 16-302, as detailed in paragraphs Twenty-Five through Thirty Five,

and Thirty-Seven through Forty-Two of this indictment.

       All in violation of Title 18, United States Code, Section 157.

                                       COUNT FIFTEEN

       48.     The allegations in paragraphs One through Forty-Two are realleged and

incorporated herein by reference.

       49.     Between on or about March 1, 2016, and April 28, 2016, in the Western District of

Missouri and elsewhere, the defendant, Joel Jerome Tucker, aided and abetted by another,


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knowingly caused false entries in a record and document to be made, to wit: a spreadsheet

designated “Tucker 027983” listing 26 debtors containing false information, including: that the

debtor had received a loan, that a debt was owed, lender names, loan dates, and debt amounts, with

the intent to impede, obstruct, and influence the investigation into the filing of false bankruptcy

claims in the Southern District of Texas in Misc. Case No. 16-302, a matter that the defendant

contemplated and knew was within the jurisdiction of the United States Bankruptcy Court, which

is a department and agency of the United States.

       All in violation of Title 18, United States Code, Sections 1519 and 2.

                               ALLEGATION OF FORFEITURE

       50.      By this reference the allegations contained in paragraphs One through Twenty-

Four are re-alleged and incorporated for the purpose of alleging forfeiture to the United States

pursuant to Title 18, United States Code, Section 981(a)(1)(C), and Title 28, United States Code,

Section 2461.

       51.      As a result of the offenses alleged in Counts One through Twelve, the defendant

shall forfeit to the United States all property, real and personal, constituting, or derived from

proceeds traceable to these offenses, including but not limited to the following property: a money

judgment in the amount of $7,300,000 in United States currency and all interest and proceeds

traceable thereto, representing the net proceeds obtained by Tucker in that at least that amount

constitutes or is derived from proceeds traceable to the offense alleged in Counts One through

Twelve.

       52.      If any of the property described above as being subject to forfeiture, as a result of

any act or omission of the defendant:

                (1)    cannot be located upon the exercise of due diligence;


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                (2)    has been transferred, or sold to, or deposited with, a third person;

                (3)    has been placed beyond the jurisdiction of the Court;

                (4)    has been substantially diminished in value; or

                (5)    has been commingled with other property which cannot be subdivided

                       without difficulty;

it is the intent of the United States pursuant to 21 U.S.C. § 853(p) to seek forfeiture of any other

property of Tucker up to the value of the above forfeitable property.

                                                      A TRUE BILL.


                                                           /s/ [Deputy] Elvia M. Jones
                                                      FOREPERSON OF THE GRAND JURY


/s/ Kathleen D. Mahoney
Kathleen D. Mahoney
Assistant United States Attorney



/s/ James Curt Bohling
James Curt Bohling
Assistant United States Attorney



Dated:         6/5/18
         Kansas City, Missouri




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